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28
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 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
           MS. L, et al.,                                Case No. 18cv428 DMS MDD
 4
 5                   Petitioners-Plaintiffs,
                                                         JOINT STATUS REPORT
 6         vs.
 7
           U.S. IMMIGRATION AND
 8         CUSTOMS ENFORCEMENT, et
 9         al.,

10                   Respondents-Defendants.
11
12
           The Court ordered the parties to file a joint status report on February 20, 2019,
13
14 in anticipation of the status conference scheduled at 3:00pm PST on February 21,
15 2019. The parties submit this joint status report in accordance with the Court’s
16
   instruction.
17
18 I.     DEFENDANTS’ POSITIONS

19       A. Update on Reunifications
20
           As of February 13, 2019, Defendants have discharged 2,735 of 2,816 possible
21
                                       1
22 children of potential class members. See Table 1: Reunification Update. This is
23
24
     1
25   As explained in the data table below and in prior status reports, Defendants have
   determined that some children originally counted in this number are not, in fact,
26 children of class members. Defendants continue to report this number to allow for
27 transparency in their data reporting, and to minimize confusion.
28

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     an increase of 12 discharges reported in Table 1 since the Joint Status Report (JSR)
 1
 2 filed on February 6, 2019. All 12 children were discharged under other appropriate
 3
     circumstances, such as discharges to other appropriate sponsors or discharges of
 4
 5 minors who turned 18 years old.
 6         There are now five children in ORR care proceeding towards reunification or
 7
     other appropriate discharge. The current status of these five children is as follows:
 8
 9             One child has a parent who is in the United States, but who is

10                unavailable because the parent is in other federal, state, or local custody
11
                  (e.g., state criminal detention). Defendants are working to appropriately
12
13                discharge the child, and to identify any possible barriers to discharge,

14                meeting and conferring with Plaintiffs where appropriate for resolution.
15
               Four children have parents presently departed from the United States.
16
17                The Steering Committee has not yet provided notice of parental intent

18                regarding reunification (or declination of reunification). Defendants are
19
                  supporting the efforts of the Steering Committee to obtain statements
20
21                of intent from those parents. Once Defendants receive the notices from

22                the Steering Committee, Defendants will either reunify the children or
23
                  move them into the TVPRA sponsorship process, consistent with the
24
25                intent of the parent. The Steering Committee has advised that resolution
26                on four of the five children will be delayed due to unique circumstances.
27
28

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             The current reunification status for the 2,816 children ages 0 through 17 who
 1
 2 have been the focus of Defendants’ reporting to date is further summarized in Table
 3
     1 below. The data in Table 1 reflects approximate numbers on these children
 4
 5 maintained by ORR at least as of February 13, 2019. These numbers are dynamic
 6 and continue to change as more reunifications, determinations on class membership,
 7
     and/or discharges occur. 2
 8
 9                                Table 1: Reunification Update

10                                                     Phase 1       Phase 2
                        Description                    (Under 5)     (5 and      Total
11                                                                   above)
         Total number of possible children of            107            2709       2816
12       potential class members
13                                    Discharged Children
14       Total children discharged from ORR care:          106         2629        2735
15             • Children discharged by being               82          2073       2155
16               reunified with separated parent
               • Children discharged under other
17               appropriate circumstances (these
18               include discharges to other
                 sponsors [such as situations where         24          556         580
19               the child’s separated parent is not
20               eligible for reunification] or
                 children that turned 18)
21
22
23
24   2
     Please note that ORR’s database experienced technical problems and was
25 inaccessible from approximately February 8, 2019 until February 12, 2019. Due to
   this outage, it is possible that additional reunifications took place since the last JSR,
26 but were not updated in the database in time for this report. The ORR database is
27 now functional again, and the next JSR will include all reunifications to date.
28

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                          Children in ORR Care, Parent in Class
 1
      Children in care where the parent is not
 2    eligible for reunification or is not available       0           5          5
      for discharge at this time:
 3
 4    • Parent presently outside the U.S.             0                4          4
             o Steering Committee has advised         0                3          3
 5              that resolution will be delayed
 6    • Parent presently inside the U.S.              0                1          1
             o Parent in other federal, state, or     0                1          1
 7              local custody
 8           o Parent red flag case review            0                0          0
                ongoing – safety and well being
 9
                        Children in ORR Care, Parent out of Class
10    Children in care where further review shows
      they were not separated from parents by         1                13         14
11    DHS
      Children in care where a final determination
12    has been made they cannot be reunified
      because the parent is unfit or presents a       0                18         18
13    danger to the child
      Children in care with parent presently
14    departed from the United States whose intent
      not to reunify has been confirmed by the        0                39         39
15    ACLU
16    Children in care with parent in the United
      States who has indicated an intent not to       0                5          5
17    reunify

18     Additional Information Regarding 149 Children Identified in the Previous JSR
19         Table 1 incorporates discharge information relating to the 149 separated
20
     children reported for the first time in the last two JSRs. See ECF Nos. 334 and 349.
21
22 These children were in ORR care on June 26, 2018, and were all discharged by
23 October 25, 2018. At the time of discharge:
24
     • 64 children had potential class member parents who departed the United
25
26         States. Seven of these 64 children departed the United States with their
27
28

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           separated parents. ORR discharged 57 children under other appropriate
 1
 2         circumstances. At the request of the Steering Committee, ORR will provide
 3
           the Steering Committee with the last known contact information for the
 4
 5         parents of these 57 children.

 6      • 73 children had potential class member parents in the United States. ORR
 7
           reunified 10 of these 73 children with their separated children, and discharged
 8
 9         63 under other appropriate circumstances.

10      • 11 children had parents who were determined to be excluded from the class
11
           due to criminality. However, one parent from this group was later reunified
12
13         with his separated child.
14      • 1 child was found not to have been separated from a parent.
15
           On February 8, 2019, Defendants provided a spreadsheet to Plaintiffs
16
17 identifying these 149 children, and providing information available to Defendants
18 about the status of the children and their parents. Other than as noted above,
19
   Defendants have not received any follow-up inquiries from Plaintiffs about this data.
20
21      B. Update on Removed Class Members
22         The current reunification status of removed class members is set forth in Table
23
     2 below. The data presented in this Table 2 reflects approximate numbers maintained
24
25 by ORR as of at least February 13, 2019. These numbers are dynamic and continue
26
     to change as the reunification process moves forward.
27
28

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                Table 2: Reunification of Removed Class Members
 1
 2   REUNIFICATION REPORTING METRIC                        NO.    REPORTING
     PROCESS                                                      PARTY
 3   STARTING      Children in ORR care with
     POPULATION    parents presently departed                43   Defs.
 4
                   from the U.S.
 5
     PROCESS 1:
 6   Identify & Resolve Children with no “red flags”         43   Defs.
     Safety/Parentage   for safety or parentage
 7   Concerns
 8   PROCESS 2:           Children with parent contact
     Establish Contact    information identified             43   Defs.
 9   with Parents in
     Country of Origin    Children with no contact
10                        issues identified by plaintiff     43   Defs. & Pls.
                          or defendant
11                        Children with parent contact
                          information provided to            43   Defs.
12                        ACLU by Government
13
     PROCESS 3:           Children for whom ACLU
14   Determine            has communicated parental          40   Pls.
     Parental Intention   intent for minor:
15   for Minor
                             • Children whose parents        39   Pls.
16                             waived reunification
17                           • Children whose parents
                                chose reunification in       1    Pls.
18
                                country of origin
19                           • Children proceeding
20                              outside the                  0    Pls.
                                reunification plan
21                        Children for whom ACLU
                          has not yet communicated           3    Pls.
22                        parental intent for minor:
23                           • Children with
                                voluntary departure          0    Defs.
24                              orders awaiting
25                              execution
                             • Children with parental        0    Defs.
26                              intent to waive
27
28

                                           6                             18cv428 DMS MDD
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 1                                reunification
                                  documented by ORR
 2                              • Children whose parents
 3                                ACLU has been in
                                  contact with for 28 or          0      Pls.
 4                                more days without
 5                                intent determined

 6    PROCESS 4:             Total children cleared
      Resolve                Processes 1-3 with confirmed         1      Pls.
 7    Immigration            intent for reunification in
      Status of Minors to    country of origin
 8    Allow                      • Children in ORR care
      Reunification
                                    with orders of                0      Defs.
 9
                                    voluntary departure
10                               • Children in ORR care
11                                  w/o orders of voluntary       1      Defs.
                                    departure
12                                    o Children in ORR
13                                       care whose
                                                                  0      Defs.
                                         immigration cases
14                                       were dismissed
15
           Separately, Plaintiffs’ have requested that the government submit to Plaintiffs
16
17 and to the Court a “baseline” total number of removed parents. Counsel for
18 Defendants has spoken with counsel for Plaintiffs in an effort to better understand
19
   what Plaintiffs are seeking in making this request, and following that discussion,
20
21 Defendants are now working with their data team to compile the number that they
22 understand Plaintiffs to be referring to in requesting a “baseline.” Defendants are
23
   reviewing their records and expect to be able to calculate this number in time for the
24
25 next status report. Defendants note that since the preliminary injunction was issued
26 they have regularly updated the Steering Committee regarding the status of departed
27
28

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     parents who have children remaining in ORR care, including updates and
 1
 2 explanations about why their calculation of that number has continued to change
 3
     over time. Defendants sent the last such update on February 8, 2019, and plan to
 4
 5 send another update later this week.
 6        C. Update Regarding Government’s Implementation of Settlement
 7           Agreement

 8
             SETTLEMENT              DESCRIPTION                    NUMBER
 9              PROCESS
         Election Forms 3        Total number of executed     340 (217 Parents/123
10                               election forms received           Children)4
                                 by the Government
11                                  • Number who elect         185 (119 Parents/66
                                                                    Children)
12                                      to receive
                                        settlement
13                                      procedures
14                                  • Number who                155 (98 Parents/57
                                                                    Children)5
                                        waive settlement
15                                      procedures
16
17
18
19
20   3
    The number of election forms reported here is the number received by the
21 Government as of February 13, 2019.
     4
22   The number of children’s election forms is lower than the number of parent election
   forms because in many instances a parent electing settlement procedures submitted
23
   an election form on his or her own behalf or opposing counsel e-mailed requesting
24 settlement implementation for the entire family, but no separate form was submitted
   on behalf of the child.
25
   5
     The number of children’s waivers is lower because some parents have submitted
26 waivers only for themselves and some parents who have waived reunification also
27 waived settlement procedures and have therefore not provided a form for the child.
28

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 1       Interviews             Total number of class                 1376
                                members who received
 2                              interviews
 3                                 • Parents who                       71
                                       received
 4
                                       interviews
 5                                 • Children who                      66
 6                                     received
                                       interviews
 7       Decisions              Total number of CFI/RFI               63 7
 8                              decisions issued for
                                parents by USCIS
 9                                 • Number of parents                63 8
                                       determined to
10                                     establish CF or RF
11                                     upon review by
                                       USCIS
12
                                   • Number of parents                 0
13                                     whose CF or RF
                                       finding remains
14
                                       negative upon
15                                     review by USCIS
                                Total number of CFI                   73 9
16                              decisions issued for
                                children by USCIS
17
     6
18     Some individuals could not be interviewed because of rare languages; these
     individuals were placed in Section 240 proceedings.
19   7
       This number is the aggregate of the number of parents whose negative CFI/RFI
20   determinations were reconsidered, number of parents whose negative CFI/RFI
21   determination was unchanged, and individuals who were referred to 240 proceedings
     without interview because of a rare language. This number excludes 12 cases where
22   a parent already had an NTA from ICE or was already ordered removed by an IJ
23   (which are included in the interview totals).
     8
     This number includes parents who received positive CF/RF determinations upon
24
   reconsideration, parents who received a Notice to Appear based on their child’s
25 positive CF determination, and parents who were placed in Section 240 proceedings
26 due to a rare language.
   9
     This number is the aggregate of the number of children who received a positive CF
27
28

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                                       • Number of                      73 10
 1
                                         children
 2                                       determined to
 3                                       establish CF by
                                         USCIS
 4                                     • Number of                        0
 5                                       children
                                         determined not to
 6                                       establish CF by
 7                                       USCIS
      Removals                      Number of class                 95 Parents 11
 8
                                    members who have been
 9                                  returned to their country
10                                  of origin as a result of
                                    waiving the settlement
11                                  procedures
12
13        D. Children Awaiting Placement.
14
              On February 12, 2019, Plaintiffs provided Defendants a list of 22 children
15
     who Plaintiffs believed were awaiting placement with a sponsor after their parent
16
17 waived reunification. On February 16, 2019, Defendants provided Plaintiffs with
18
     information about each of these 22 children. In summary: 8 of those children have
19
     been released to a sponsor; 5 have possible sponsors, but necessary information has
20
21
22 determination, the number of children who received a negative CF determination,
   and children who were referred to 240 proceedings without interview because of a
23 rare language.
24   10
     This number includes children who received a positive CF determination, children
   who received a Notice to Appear as a dependent on their parent’s positive CF
25
   determination, and children who were placed in Section 240 proceedings due to a
26 rare language.
     11
27        This number is as of February 9, 2019.
28

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     not been submitted by those sponsors; 1 has a possible sponsor, but necessary
 1
 2 information has not been received from the consulate; 7 have no sponsor available;
 3
     and 1 child was discharged from ORR custody because he turned eighteen.
 4
 5        E. Government Processes, Procedures, and Tracking, for Separations Since
             June 26, 2018.
 6
 7             1. Data Requested by Plaintiffs

 8          Defendants are providing Plaintiffs with a report containing information
 9
     regarding families separated since the Court’s June 26, 2018 preliminary injunction
10
11 order. Defendants have identified 245 new separations of children and parents that
12 occurred between June 27, 2018 and January 31, 2019, and four cases which require
13
     more time to assess. 12 Even counting these four cases as parent-child separations,
14
15 these (249) referrals account for approximately 0.78% of the 31,876 total referrals
16 ORR received over the same period. Further, of these 249 children, 62 are no longer
17
     in ORR care.
18
19          Based on the information available to date, in the 245 identified separations

20 the parent was either excluded from the Ms. L class or was separated for a reason
21
   consistent with the Court’s preliminary injunction. In some of these cases, the parent
22
23
24   12
     Defendants have excluded from this count of 245 separations a situation in which
25 DHS encountered a UAC mother, adult father, and their UAC infant child, and in
   which the UAC mother and infant were both transferred to ORR together, while the
26 infant’s adult father was transferred to ICE custody. Defendants coordinated with
27 Plaintiffs’ counsel on the disposition of this case.
28

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     has since become eligible for reunification with their child, and reunification is
 1
 2 proceeding under the Court’s procedures, as outlined in Table 3 below.
 3
           Table 3 below sets forth the number of new separations identified, the bases
 4
 5 for those separations, and the status of those children who have been discharged
 6 from ORR care. Defendants note that the count presented here is accurate as of
 7
     February 20, 2019, and is based on information known to the Defendants as of that
 8
 9 date. This information is, in some cases, different than the information that was
10 known at the time of the actual separation. For instance, some of these 245 cases
11
     reflect a situation in which CBP separated a child from an accompanying adult
12
13 because, based on the information available to CBP at the time of apprehension, and
14 in light of the short period of time in which CBP must make a processing
15
     determination, CBP did not have information to indicate that the adult was the parent
16
17 or legal guardian of the child. However, since the time of apprehension, Defendants
18 have developed additional information that shows that the child was, in fact,
19
   separated from his or her parent or legal guardian. As outlined below in Section
20
21 I.E.2, in that case DHS and ORR would work together to reunify that parent and
22 child under the expedited Ms. L reunification process. In light of changes in
23
   information known to Defendants as well as factual circumstances regarding the
24
25 parent and child, any count of separations reflects only a snapshot in time, and is
26 subject to change based on changed or updated information.
27
28

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                                Table 3: New Separations
 1
 2                                   Description                       Total
 3             Total number of possible children separated from
               their parents and placed in ORR custody between             249
 4             June 26, 2018 and February 5, 2019
 5                     • Separations verified by DHS and HHS               245
                       • Separations requiring additional review              4
 6
               Basis for Separation
 7                     • Parent criminality, prosecution, gang
 8                        affiliation, or other law enforcement            225
                          purpose
 9                     • Parent health issues/hospitalization                17
10                     • DHS unable to verify familial relationship           3
               Total number of children discharged from ORR care
11                                                                           62
               (out of the 249 identified above):
12                     • Children discharged by being reunified
                                                                             17
                          with separated parent
13
                       • Children discharged under other
14                        appropriate circumstances (these include
15                        discharges to other sponsors [such as
                                                                             45
                          situations where the child’s separated
16                        parent is not eligible for reunification] or
17                        children that turned 18)

18            2. Processes and Procedures
19
           Defendants have met and conferred with counsel for class members as well as
20
     counsel for separated children, and have considered all issues raised by counsel in
21
22 these discussions, as well as issues identified in the course of this litigation, in
23
     developing the outline below. The below summary memorializes the processes,
24
     procedures, tracking, and communication between the agencies that have been
25
26 adopted by the agencies since June 26, 2018, in accordance with the requirements of
27
28

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     the Court’s preliminary injunction order. It also provides an outline of the options
 1
 2 for separated parents and children to obtain information and assess their options for
 3
     reunification. Defendants are willing to meet and confer with Plaintiffs as needed
 4
 5 regarding any remaining issues.
 6                          Outline of Processes and Procedures
 7      • DHS initiates separation based on a parent’s: 1) criminal history; 2)
          communicable disease; 3) unfitness or dangerousness (including
 8
          hospitalizations); or 4) some other criteria that do not automatically exclude
 9        the parent from being treated as a Ms. L. class member at a later point in time
          (i.e., referral for criminal prosecution or as a material witness).
10
              o Understanding that initial separations must be made based on the
11              information that is available at the time to those agents encountering an
12              adult and child, DHS will, if appropriate, relay the basis for separation
                to the adult, or to the adult’s attorney, upon request. CBP will not
13
                generally provide reasons to the adult if doing so would create a risk to
14              the child’s safety or would not otherwise be in the child’s best interests,
                and will not do so in situations in which CBP suspects fraud,
15
                smuggling, and/or trafficking.
16            o DHS will communicate the basis for separation to HHS, and will, as
17              soon as practicable, provide HHS with available and appropriate
                information about the reason for the separation (taking into account any
18              restrictions on the sharing of such information). DHS and HHS have
19              designated points of contact to assist HHS in obtaining information
                about the reasons for the separation. HHS will ensure that information
20              about the separation is communicated to the field so that attorneys
21              representing the children can obtain information about the separations
                from the FFS or case managers.
22
              o Where separation is based on 1) criminal history, 2) communicable
23              disease, or 3) a determination of unfitness or dangerousness by DHS,
24              HHS will accept the child and consider reunification under the
                processes discussed below (either expedited Ms. L procedures or
25              procedures consistent with the TVPRA.).
26
27
28

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                  Where separation is based on communicable disease or a
 1
                   determination of unfitness based on hospitalization, HHS will
 2                 accept the child, and consider reunification under the processes
                   discussed below, consistent with the TVPRA, while remaining
 3
                   cognizant that the parent may become available for reunification
 4                 pursuant to the expedited Ms. L procedures during such period.
 5                 If a parent completes medical treatment or the communicable
                   disease is resolved while the parent remains in DHS custody,
 6                 DHS will notify HHS as soon as practicable whether there is a
 7                 continued basis for separation (either (1) criminal history, or (2)
                   a determination of unfitness or dangerousness by DHS). HHS
 8                 will notify DHS if it has determined that there is a basis for
 9                 separation (including a determination of unfitness or
                   dangerousness by HHS). If there is a continued basis for
10                 separation, the procedures discussed below will apply. If there is
11                 no continued basis for separation, and the child has not already
                   been released consistent with the TVPRA, then DHS will work
12                 with HHS to facilitate reunification under the expedited Ms. L
13                 procedures.
                  Where the separation is based on a transfer to criminal custody
14
                   for a criminal prosecution or as a material witness, but no other
15                 basis for separation has been identified, HHS will accept custody
                   of the child during the course of that parent’s criminal custody.
16
                   When the parent returns to DHS custody, DHS will notify HHS
17                 as soon as practicable whether there is a continued basis for
                   separation (i.e., (1) criminal history, (2) communicable disease,
18
                   or (3) a determination of unfitness or dangerousness by DHS).
19                 HHS will notify DHS if it has determined that there is a basis for
20                 separation including communicable disease or a determination of
                   unfitness or dangerousness by HHS. If there is a continued basis
21                 for separation, the procedures discussed below will apply. If
22                 there is no continued basis for separation, then DHS will work
                   with HHS to facilitate reunification under expedited Ms. L
23                 procedures.
24
25
26
27
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 1    • For parents who are separated because of: 1) criminal history, 2)
        communicable disease, or 3) a determination of unfitness or dangerousness by
 2      DHS, DHS will make a detention determination for the parent.
 3          o If the adult is detained, then DHS will work with HHS to facilitate
              communication between the parent and child for as long as both the
 4
              parent and child remain in DHS and HHS custody, respectively.
 5                 A parent who is separated on the basis of criminal history will be
 6                  excluded from the class (the only exception to this would be if
                    DHS receives information that the original criminal history
 7                  determination was in error, in which case DHS should take steps
 8                  to treat the parent as a Ms. L. class member and should work with
                    HHS to facilitate reunification). HHS will work toward release
 9                  of the child with a suitable sponsor consistent with the TVPRA.
10                      •    If a parent in this category requests reunification for
11                          removal, DHS and HHS will consider such requests on a
                            case by case basis, notwithstanding the fact that the parent
12                          remains excluded from the Ms. L. class.
13                 A parent who is separated on the basis of having a communicable
14                  disease and who remains in DHS custody is excluded from the
                    Ms. L. class and is not entitled to be reunified with their child so
15                  long as the medical condition remains in place, and HHS will
16                  work toward release of the child with a suitable sponsor
                    consistent with the TVPRA.
17
                        • If DHS becomes aware that the parent no longer has a
18                        communicable disease, then DHS will notify and work
19                        with HHS to reassess class membership and, if
                          appropriate, facilitate reunification for children not yet
20                        released from HHS.
21                 A parent who is separated on the basis of unfitness (including
22                  hospitalization) or dangerousness and who remains in DHS
                    custody is not entitled to be reunified with their child so long as
23                  the factual basis for the original unfitness or dangerousness
24                  determination remains in place.

25                      • If DHS becomes aware that such factual basis no longer
                          exists, then DHS will notify and work with HHS to
26                        reassess whether reunification is appropriate and, if
27                        appropriate, facilitate reunification.

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 1                      • If HHS becomes aware that the factual basis for the
                          original unfitness or dangerousness determination no
 2                        longer exists then HHS will notify and work with DHS to
 3                        reassess whether reunification is appropriate and, if
                          appropriate, facilitate reunification.
 4
                        • If a parent who remains in DHS custody was separated on
 5                        the basis of unfitness or dangerousness, and DHS
 6                        determines that the factual basis for the unfitness or
                          dangerousness determination still exists, and the parent is
 7                        subject to a final order of removal, DHS will determine
 8                        whether the parent requests to be removed with his or her
                          child. If the parent requests reunification for removal,
 9                        DHS will notify HHS before the parent is removed. HHS
10                        will then determine whether the parent has any fitness or
                          dangerousness issues that preclude reunification for
11                        removal. If HHS finds no fitness or dangerousness
12                        problem that precludes reunification for removal, then
                          DHS and HHS will facilitate reunification for removal.
13
           o If DHS makes the decision not to detain an individual who was
14           originally separated and excluded from the class for 1) criminal history,
             2) communicable disease, or 3) a determination of unfitness or
15
             dangerousness by DHS (or if release of such an individual is ordered
16           by an immigration judge), DHS will communicate this release
             determination to HHS and will work with HHS to provide information
17
             necessary for HHS to determine whether the parent has an issue that
18           requires continued exclusion from the class or would require continued
19           separation. If HHS concludes that no such issue requires continued
             separation or class exclusion, then, notwithstanding the fact that the
20           parent is excluded from the Ms. L. class, HHS will facilitate
21           reunification by, in its discretion, applying the expedited Ms. L.
             reunification procedures. Otherwise, the child will proceed towards
22           release consistent with the TVPRA.
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 1   II.      MS. L. PLAINTIFFS’ POSITION
 2 1.         The Creation of a Centralized Database to Track Further Separations
 3            The parties are meeting and conferring on how to addressing continuing
 4 separations. Prior to the shutdown, Plaintiffs sent the government a set of
 5 threshold requirements that an interagency database should meet. Plaintiffs have
 6 asked to see a written proposal by government agencies so as to provide detailed
 7 responses, informed by the views of stakeholders, including groups representing
 8 immigrant children and families. As of Friday, February 15, the government stated
 9 they are in the process of developing a written proposal; Plaintiffs have not yet
10 received it or had a chance to review it with stakeholders in order to provide
11 further input.
12 2.         Information Regarding Parents Separated from Children After June 26
13            Plaintiffs have requested the government provide a list of parents separated
14 from their children after June 26 (the date of the PI Order), along with the reasons
15 why the family was separated in order to ensure this Court’s injunction is properly
16 implemented and assist the reunification of families where it is not. Plaintiffs
17 requested this information by e-mail to government’s counsel on Dec. 6, 2018,
18 raised the request in the February 6 JSR, and at the February 8 status hearing. The
19 government indicated it was putting the information together. 2/8/19 Tr. at 12.
20 Plaintiffs have not yet received the list.
21 C.         Steering Committee Progress
22            The Steering Committee has successfully contacted and confirmed the
23 preferences of nearly all removed parents with respect to reunifications. On
24 February 8, the government reported that, as of February 2, 49 children with
25 removed parents remained in ORR custody. 13 The Committee has delivered
26
     13
          As discussed at the October 25 Status Conference, in this Joint Status Report
27
28

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 1 preferences for the parents of 45 of those children, and those children are awaiting
 2 either reunification with their parents or placement with sponsors in accordance
 3 with their parents’ submitted preferences. For the remaining four children, the
 4 parent of one is seeking to return to the United States under the Settlement
 5 Agreement and the other three are cases where the Steering Committee has advised
 6 the government that additional time will be required due to complex and
 7 individualized circumstances.
 8         The status of efforts based on the government’s January 28 list of 49
 9 children in ORR custody with removed parents appears in the table immediately
10 below. 14
11   Removed parents identified by the government to the Steering               49
12   Committee as of 2/2/2019
13   Parent’s final preference has been communicated to the government          45 15
14      • Parent has elected reunification in Country of Origin                 0
15
        • Parent has elected to waive reunification in Country of Origin        45
16
     Total number of cases that the Steering Committee has indicated to         3
17   the government should be set aside.
18   Total number of cases where the parent seeks to return to the U.S.         1
     under the Settlement Agreement and has thus not yet made an
19   election.
20
   Plaintiffs are reporting a set of detailed numbers based only on the government’s
21 most recent list of children in ORR custody with removed parents.
22
           14
23          This table is shortened from the version in past status reports. We have
   omitted a breakdown of the 49 removed parents that focuses on how many
24 separated parents have been contacted. All but two removed parents have been
   contacted, which is unchanged from the Feb. 6 status report.
25
           15
26           As noted above, for one child, the Steering Committee has determined
   that, due to its inability to reach the removed parent, reporting the preference of the
27 non-removed parent is appropriate.
28

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 1
 2
              1.    Children Whose Parents Have Submitted Preferences Who
 3
                    Are Still Detained
 4
           On February 12, the Steering Committee provided to the government
 5
     information regarding 22 children who had been in ORR custody for at least five
 6
     months following the submission of a final reunification election. The government
 7
     provided detailed information regarding these children on February 16, which the
 8
     Steering Committee appreciates. Eight of these 22 children have now been
 9
     discharged to a sponsor; one child turned 18 and was transferred out of ORR care.
10
     The Steering Committee will continue to meet and confer with the Government
11
     regarding the remaining children.
12            2.    Identifying the Population of Removed Parents
13         At the November 30 Status Conference, the Court requested the parties to
14 agree upon a baseline of the total number of parents who were removed following
15 separation from their children, so as to provide the Court with a complete
16 accounting of the reunification process. Although the Steering Committee has
17 conferred with the government regarding how to calculate the baseline, the
18 government has not yet provided the proposed baseline to the Steering Committee.
19       With respect to the 149 additional separated children in ORR custody,
20 identified by the government in the December 12 Joint Status Report, the
21 Government has provided initial information to the ACLU and Steering
22 Committee, showing that 64 of these separated children have a parent that was
23 removed from the United States following separation. None of these children
24 remain in ORR custody; however the Steering Committee intends to contact these
25 parents to ensure that their reunification preferences have been satisfied and to
26 identify any parents whose cases counsel may raise with the government as
27
28

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 1 warranting return to the United States to pursue asylum. The government has told
 2 the Steering Committee that it will provide contact information for these families
 3 later this week.
 4
 5 III.    MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 6
 7         The parties continue to work together to implement the settlement agreement
 8
     approved on November 15, 2018. Counsel for Plaintiffs are providing the
 9
     government with signed waiver forms as they are received from class members
10
11 (detained and released). The parties are meeting and conferring on settlement
12
     implementation issues as they arise. Since the last status report, the parties met
13
     and conferred on a range of issues. The parties are working together to resolve the
14
15 discrepancy between the number of waiver forms submitted by class counsel and
16
     the number of forms reported by the Government. The parties are also working
17
     together to identify and resolve settlement issues for the remaining class members
18
19 who are still in detention but who have not submitted waiver forms. The parties
20
     will alert the Court of any issues that require the Court’s guidance.
21
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23         .
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